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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


IN RE RESTRAINT OF A CONDOMINIUM
APARTMENT LOCATED AT 19900 E.                                   19-MC-011 (BAH)
COUNTRY CLUB DRIVE, UNIT 202,
AVENTURA, FLORIDA, 33180


                                  NOTICE OF LIS PENDENS

GRANTEES: GUIDO ALBERTO NULE MARINO AND ADRIANA MANCINI POSADA

TO:             ALL PERSONS WHO MAY CLAIM BY, THROUGH, OR UNDER THE
                GRANTEES, ANY INTEREST IN THE REAL PROPERTY DESCRIBED
                BELOW.

       NOTICE IS HEREBY GIVEN, pursuant to the provisions of Fla. Stat. § 48.23, as made

applicable hereto by the provisions of 28 U.S.C. § 1964, of the following:

       On January 25, 2019, pursuant to the provisions of 28 U.S.C. § 2467(d)(3), the United

States District Court for the District of Columbia ordered the restraint of the real property known

as 19900 E. Country Club Drive, Unit 202, Aventura, Florida, 33180, together with all

structures, fixtures, attachments, appurtenances and improvements therein or thereon.

       The above-described real property is subject to forfeiture under Colombian law in

connection with forfeiture proceedings in that country. The United States District Court for the

District of Columbia registered and enforced a Colombian restraining order pertaining to this

property, giving it force and legal effect in the United States and authorizing the recordation of

this notice of lis pendens.

       Any and all persons and/or entities are placed on notice that the interests (if any) of

Guido Alberto Nule Marino And Adriana Mancini Posada in the above-referenced property is

involved in litigation in the Republic of Colombia and, by virtue of the above-captioned

enforcement action, Miscellaneous Case No. 19-011, in the United States. An adverse judgment
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could affect interests asserted by such persons or entities. This notice is filed for the purpose of

asserting an interest of record in the above-referenced property, pending litigation.

       Further information concerning this action may be obtained from the records of the

Office of the Clerk, United States District Court for the District of Columbia, 333 Constitution

Avenue NW, Room 1225, Washington, D.C. 20001.

       Dated at Washington, District of Columbia, this 29 day of January, 2016.


                                                    DEBORAH CONNOR, CHIEF
                                                    MONEY LAUNDERING AND ASSET
                                                    RECOVERY SECTION


                                             By: _____________________________________
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                                                    UNITED STATES OF AMERICA




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